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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FREEDOM WATCH, INC., individually and on behalf of
those similarly situated

2020 Pennsylvania Ave NW #345

Washington, DC, 20006

LAURA LOOMER, individually and on behalf of those
similarly situated
Palm Beach, Florida

Plaintiffs,
Vv.

GOOGLE, INC.
160 Amiptheatre Parkway
Mountain View, CA, 94043

And

FACEBOOK, INC.,

1 Hacker Way

Menlo Park, CA, 94025
And

TWITTER, INC.,

1355 Market Street #900
San Francisco, CA, 94103
And

APPLE, INC.

1 Infinite Loop
Cupertino, CA, 95014

Defendants.

 

 

AMENDED CLASS ACTION
COMPLAINT

1:18-cv-02030

I. INTRODUCTION AND CLASS ACTION ALLEGATIONS

Plaintiffs Freedom Watch, Inc. (“Freedom Watch”) and Laura Loomer (“Ms. Loomer”)

(collectively “Plaintiffs”), individually and on behalf of all others similarly situated, bring this
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suit as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure. The class is
defined as all politically conservative organizations, entities and/or individuals who create and/or
distribute media content and advocacy who have experienced illegal suppression and/or
censorship of their media content by Defendants. This class meets all the criteria required by
Federal Civil Rule 23(a).

The members of the class are so numerous that joinder of all its members is impossible.
There are likely to be hundreds or more class members in the United States and worldwide.
Furthermore, common questions of fact and law exist as to all class members, including, but not
limited to, whether Defendants are engaging in illegal suppression and censorship of politically
conservative content. Plaintiffs’ claims are typical of all of the claims of the respective class that
it seeks to represent and Plaintiffs have no interests averse to the interest of the other members of
the class, insofar as its injuries are substantially similar to those suffered by the other members of
the class. Lastly, prosecution of separate actions of the hundreds, if not more, of potential
members of this class would almost certainly result in inconsistent or varying adjudication,
which would result in different standards of conduct being imposed upon Defendants by
different courts.
Il. JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §
1332 (Diversity of Citizenship Jurisdiction) and 28 U.S.C. § 1331 (Federal Question
Jurisdiction). This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d), as
the amount in controversy exceeds the value of $1,500,000,000, this is a class action, and one or
more Plaintiffs is a citizen of a state different from the state of citizenship of one or more of the

Defendants.
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2. This Court has supplemental jurisdiction over this case pursuant to 28 U.S.C. §
1367.

3. Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) in
that a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
district.

4. Freedom Watch is incorporated in and does substantial business in the District of
Columbia. Ms. Loomer is an individual and citizen of Florida and resides in this state.

Il. PARTIES

Plaintiffs
5. Freedom Watch is a 501(c)(3) non-profit corporation that is incorporated in the
District of Columbia.
6. Ms. Loomer is an individual and a citizen of the state of Florida
Defendants
7. Defendant Google, Inc. (“Google”) is a corporation incorporated in the state of

Delaware. Google does business in all 50 states, including the District of Columbia. Google
owns the video streaming service, YouTube, and is therefore liable for the violative conduct of
YouTube alleged herein.

8. Defendant Facebook, Inc. (“Facebook”) is a corporation incorporated in the state
of Delaware. Facebook does business in all 50 states, including the District of Columbia.
Facebook owns the photo and video-sharing social networking service, Instagram, and is
therefore liable for the violative conduct of Instagram alleged herein.

9. Defendant Twitter, Inc. (“Twitter”) is a corporation incorporated in the state of

Delaware. Twitter does business in all 50 states, including the District of Columbia.
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10. Defendant Apple, Inc. (“Apple”) is a corporation incorporated in the state of
Delaware. Apple does business in all 50 states, including the District of Columbia.
IV. STANDING

11. Freedom Watch and Ms. Loomer, individually and those similarly situated, have
standing to bring this action because they have been directly affected and victimized by the
unlawful conduct complained herein. Their injuries are proximately related to the conduct of
Defendants, acting in concert in restraint of trade and other unlawful acts, each and every one of
them.
V. FACTS

Defendants’ Suppression and Censorship of Conservative Content

12. ‘It has been revealed that Defendants, each and every one them, have engaged in a
conspiracy to intentionally and willfully suppress politically conservative content.

13. This conspiracy has resulted in severe financial loss, as well as unconstitutional
suppression of speech and other content, for Freedom Watch and those similarly situated.

14. Acting in concert with traditional media outlets, including but not limited to Cable
News Network (“CNN”), MSNBC, the New York Times and the Washington Post — all of whom
are owned and/or managed by persons with a leftist political ideology, Defendants have
intentionally and willfully suppressed politically conservative content in order to take down
President Donald Trump and his administration with the intent and purpose to have installed
leftist government in the nation’s capital and the 50 states.

15. Defendants’ goal is to use their position of influence and great market power — as

set forth below — to re-craft the nation into their leftist design.
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16. Indeed, many executives of Defendants and at CNN, MSNBC, the New York
Times and the Washington Post, which outlets are not being suppressed and censored, are
intricately connected with former President Barack Obama, former Secretary of State and
presidential candidate Hillary Clinton, and former President Bill Clinton and still serve their
interests, as well as those of other leftist politicians, through the media.

17. It has been widely reported and documented that Defendants have each, as part of
the conspiracy described herein, actively, willfully, and intentionally and/or or through parallel
concerted violative conduct suppressed conservative content in furtherance of their political
agendas and those of their co-conspirators.

18. According to Senator Ted Cruz, as reported in the New York Times, “if internet
companies are not a ‘neutral platform,’ they should not be protected by a law known as Section
230 of the Communications Decency Act, which (some claim) gives companies broad legal
immunity for what people put on their services.”

19. In the same article, Rep. Kevin McCarthy stated, “Social media platforms are
increasingly serving as today’s town squares....But sadly, conservatives are too often finding
their voices silenced.”

20.  Inan article from the National Review, it was revealed that each and every one of
the Defendants have actively suppressed and censored conservative content.° (the “National

Review Article”).

 

' Adam Santariano, Trump Accuses Google of Burying Conservative News in Search Results,
N.Y. Times, Aug. 28, 2018, available at:
https://www.nytimes.com/201 8/08/28/business/media/google-trump-news-results.html

Id.
3 Ben Shapiro, Viewpoint Discrimination with Algorithms, National Review, Mar. 7, 2018,
available at: https://www.nationalreview.com/2018/03/social-media-companies-discriminate-
against-conservatives/
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21. | YouTube is one of the top three most visited websites globally (along with co-
Defendant Facebook and its parent company, Google) and, as of 2017, it was used by over one
billion users each month—almost one out of every two people on the Internet.

22. YouTube holds itself out to be a public forum for video-based speech in this
district and all around the world, allowing users to upload videos viewable by anyone in the
world, in order to share ideas, viewpoints, and ideologies.

23. Eighty-five percent of Americans watch videos online and more than 500 million
hours of videos are watched on YouTube each day.

24. More video content has been uploaded to Google/YouTube by public users than
has been created by the major U.S. television networks in 30 years

25. It was revealed that “YouTube has demonetized videos from conservatives while
leaving similar videos up for members of the Left. For example, Prager University has watched
innocuous videos titled ‘Why America Must Lead,’ ‘The Ten Commandments: Do Not Murder,’
and ‘Why Did America Fight the Korean War’ demonetized (i.e. barred from accepting
advertisements) at YouTube’s hands.”

26. YouTube has also demonetized the account of the conservative Western Journal,
“accusing the account owners of ‘duplicating content,’ although the Google subsidiary declined
to specify what material in particular violated the video platform’s terms of service.”

27. As evidence of the political motivation behind YouTube’s action, Shaun Hair of

the Western Journal stated, “[w]e had zero copyright strikes and zero community guideline

 

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Id.
> Allum Bokhari, YouTube Cuts Off Conservative News Org’s Ad Revenue Without Explanation,
Breitbart, Aug. 24, 2018, available at: https://www.breitbart.com/tech/2018/08/24/youtube-cuts-
off-conservative-news-orgs-ad-revenue-without-explanation/
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strikes. Not even a recent warning. Youtube has on three occasions declined to explain or even
give a single example of why duplication is other than generic language about copyright rules.”

28. YouTube has also targeted conservative pundit, Alex Jones of InfoWars, deleting
his channel, which had “more than 2 million subscribers and many years’ worth of video
content.””

29. | YouTube’s parent company, Google, has even been accused by President Trump
himself of bias against conservatives, and that search results on Google only reported “fake
news” against him.*

30. In a study conducted by Paula Bolyard of PJ Media, it was revealed that an
incredible 96% of Google search results for “Trump” news came from liberal media outlets,
using the widely accepted Sharyl Attkisson media bias chart.’

31. In the same study, it was revealed that not a single conservative leaning site
appeared on the first page of search results.'°

32. The same article also examined another study conducted by “Can I Rank,” which
found that:

... top search results were almost 40% more likely to contain pages with a 'Left'

or 'Far Left’ slant than they were pages from the right," Can I Rank found.

"Moreover, 16% of political keywords contained no right-leaning pages at all
within the first page of results.

 

° Id.
"Id.
® Susan Heavey, White House investigating Google after Trump accuses it of bias, Reuters, Aug,
28, 2018, available at: https://www.reuters.com/article/us-usa-trump-tech/white-house-
investigating-google-after-trump-accuses-it-of-bias-idUSKCNILDII1
* Paula Bolyard, 96 Percent of Google Search Results for 'Trump' News Are from Liberal Media
Outlets, PJ Media, Aug. 25, 2018, available at: https://pjmedia.com/trending/google-search-
results-show-pervasive-anti-trump-anti-conservative-bias/

Id.
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33. | As reported by the New York Times, “Larry Kudlow, the director of the National
Economic Council and a longtime advocate of deregulation, appeared to back Mr. Trump when
asked by reporters later on Tuesday whether the administration would be pursuing more
regulation of Google. ‘We’ll let you know,’ Mr. Kudlow said. “We’re taking a look at it.””""

34. The National Review Article also examined Facebook’s political censorship:

Facebook was slammed two years ago for ignoring conservative stories and

outlets in its trending news; now Facebook has shifted its algorithm to downgrade

supposedly “partisan” news, which has the effect of undercutting newer sites that

are perceived as more partisan, while leaving brand names with greater public

knowledge relatively unscathed. Facebook’s tactics haven’t just hit conservative

Web brands — they’ve destroyed the profit margins for smaller start-ups like

LittleThings, a four-year-old site that fired 100 employees this week after the

algorithm shift reportedly destroyed 75 percent of the site’s organic reach (the

number of people who see a site’s content without paid distribution)

35. Furthermore, as documented in an article published on www.gizmodo.com in
2016 titled “Former Facebook Workers: We Routinely Suppressed Conservative News,” ”
“Facebook workers routinely suppressed news stories of interest to conservative readers from
[its] influential “trending” news section....” (the “Gizmodo Article”).

36. | The Gizmodo Article was published after interviews with former Facebook “news
curators,” who were “instructed to artificially ‘inject’ selected stories into the trending news
module, even if they weren’t popular enough to warrant inclusion—or in some cases weren’t
trending at all.”

37. | The Gizmodo Article further explains that Facebook’s “news curators” routinely

suppressed topics that were of interest to conservative and thus Republican-oriented readers. One

curator that was interviewed was “so troubled by the omissions that they kept a running log of

 

"! Santariano, supra note 1.

'? Michael Nunez, Former Facebook Workers: We Routinely Suppressed Conservative News,
Gizmodo, May 9, 2016, available at: https://gizmodo.com/former-facebook-workers-we-
routinely-suppressed-conser-1775461006.
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them at the time.... Among the deep-sixed or suppressed topics on the list: former IRS official
Lois Lerner, who was accused by Republicans of inappropriately scrutinizing conservative
groups; Wisconsin Gov. Scott Walker; popular conservative news aggregator the Drudge Report;
Chris Kyle, the former Navy SEAL who was murdered in 2013; and former Fox News
contributor Steven Crowder.”

38. This “news curator” stated, “I believe it had a chilling effect on conservative [and
thus Republican] news.”

39. The Gizmodo article revealed that “[s]tories covered by conservative outlets (like
Breitbart, Washington Examiner, and Newsmax) that were trending enough to be picked up by
Facebook’s algorithm were excluded unless mainstream sites like the New York Times, the BBC,
and CNN covered the same stories.”

40. Another “news curator” stated, “It was absolutely bias. We were doing it
subjectively. It just depends on who the curator is and what time of day it is.... Every once in
awhile a Red State or conservative news source would have a story. But we would have to go
and find the same story from a more neutral outlet that wasn’t as biased.”

41. — This clearly demonstrated bias against conservative and Republican oriented news
stories and outlets has been manifest in Facebook’s new algorithm change, which was effected in
2018, and has in effect censored conservative-leaning publishers on Facebook.

42. A study conducted by Western Journal found that since the algorithm change,
“Liberal publishers have gained about 2 percent more web traffic from Facebook than they were

getting prior to the algorithm changes implemented in early February. On the other hand,
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conservative [and thus Republican] publishers have lost an average of nearly 14 percent of their
traffic from Facebook.””? (the “Study”).

43. According to the Study, after removing the 15 publishers with the least traffic
from Facebook (from the original 50 outlets analyzed), the 12 most conservative sites lost an
average of 27.06 percent of their traffic from Facebook.

44. On the other hand, “Of the 12 most liberal sites, six saw double-digit decreases in
traffic, while four saw double-digit increases and two — The Washington Post and HuffPo —
saw single-digit increases. CNN’s traffic increased 43.78 percent.”

45. These results are not coincidental. “Campbell Brown, a former anchor on NBC
and CNN who now leads Facebook’s news partnerships team, told attendees at a recent
technology and publishing conference that Facebook would be censoring news publishers based
on its own internal biases.”"*

46. Ms. Brown incredibly admitted:

“This is not us stepping back from news. This is us changing our relationship with
publishers and emphasizing something that Facebook has never done before: It’s
having a point of view, and it’s leaning into quality news. ... We are, for the first

time in the history of Facebook, taking a step to try to to define what ‘quality

news’ looks like and give that a boost.” (Emphasis added.)'°

47. It is clear from the results shown in the Study, as well as the biases and prejudices

detailed in the Gizmodo Article, that the “point of view” referred to by Ms. Brown is one that

censors conservative content while propping up liberal content.

 

'3 George Upper, Confirmed: Facebook’s Recent Algorithm Change Is Crushing Conservative
Sites, Boosting Liberals, The Western Journal, Mar. 13, 2018, available at:
https://www.westernjournal.com/confirmed-facebooks-recent-algorithm-change-is-crushing-
conservative-voices-boosting-liberals/.
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Id.
> Id.

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48. Thus, Facebook is not the neutral social media platform that it holds itself out to
be, and its end users are precluded from seeing news and stories of interest to them if the happen
to lean conservatively.

49. The National Review Article also revealed that Twitter, “has banned nasty
accounts perceived as right-wing while ignoring similar activity from the left.”

50. As the National Review Article reported, “James O’Keefe recently exposed the
practice of ‘shadowbanning,’ in which Twitter hides particular content or mutes particular
hashtags for political purposes. That’s no coincidence: Twitter head Jack Dorsey is an ardent
leftist who has campaigned with radicals like Black Lives Matter founder DeRay Mckesson, and
whose company relies on the input of an Orwellian Trust and Safety Council staffed thoroughly
with left-wing interest groups.

Facts Pertaining to Directly to Freedom Watch

51. | Freedom Watch is a leading conservative non-profit public interest organization
that operates its own website, a YouTube channel as Freedom Watch TV, a Twitter account, and
Podcasts on Apple’s network. The chairman and general counsel of Freedom Watch, Larry
Klayman, is also the founder of Judicial Watch and previously was a trial attorney and
prosecutor in the Antitrust Division of the U.S. Department of Justice (“DOJ”). He was an
integral member of the Antitrust Division’s trial team that broke up the AT&T monopoly during
the Reagan administration.

52. | Freedom Watch has and still does pay Google and YouTube, Facebook and the
other Defendants for services to promote and advertise its media content in order to inform the
public about its conservative advocacy and to raise the funds through donations to further its

public advocacy and mission.

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53. | Freedom Watch had experienced steady growth in both audience and revenue
generated through these platforms for many years, until the recently reported suppression of
conservative content set forth above, which grew more pronounced and severe approximately
eight months ago, notably after the election of President Donald J. Trump and as the so-called
Russian collusion and obstruction of justice investigation of Special Counsel Robert Mueller was
publically attacked by the president and other conservatives as a continuing leftist inspired
“witch hunt.” Freedom Watch also has a “Leftist Media Strike Force” which was created to
combat discrimination against conservative media content and advocacy, and has several
pending lawsuits which seek to further justice and the rule of law, which it maintains is being
compromised by the Defendants herein, as well as other left-leaning interests. See

www.freedomwatchusa.org, which is incorporated herein by reference.

 

54. | Since Defendants, each and every one of them, have begun their conspiracy to
intentionally and willfully, and/or acting in concerted parallel fashion, to suppress conservative
content and refuse to deal with Freedom Watch, Freedom Watch’s growth on these platforms has
come to a complete halt, and its audience base and revenue generated has either plateaued or
diminished.

55. For instance, the number of subscribers to Freedom Watch’s YouTube channel
has remained static and is now declining especially over the last several months, after years of
steady grown, which simply cannot be a coincidence given the facts set forth in the previous
section.

56. The amount of revenue generated by Freedom Watch is a direct and proximate
result of the number of people who engage with its content on YouTube, Twitter, Facebook, and

Apple.

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57. Since Defendants have begun suppressing and censoring Freedom Watch’s
content on these platforms, Freedom Watch has suffered a dramatic loss in viewership and user
engagement, and this has led directly and proximately to a dramatic loss in revenue.

58. Since Defendants have begun suppressing and censoring Freedom Watch’s
content on these platforms, Freedom Watch has suffered a dramatic loss in viewership and user
engagement, and this has led directly and proximately to a dramatic loss in revenue.

59. Indeed, whereas Freedom Watch’s YouTube videos often reach over 100,000,
with a substantially positive “like” to “dislike” ratio, it is losing subscribers each and every day
from over 70,000 to under 69,000, which has directly and proximately led to led to a substantial
drop in revenue. This is the result of the illegal and anti-competition actions as pled herein.

60. This is evidence that YouTube is suppressing and censoring Freedom Watch’s
content to prevent it from obtaining new subscribers, or even removing Freedom Watch’s
subscribers unilaterally.

61. Defendants’ conspiracy to suppress conservative content has directly and
proximately caused Freedom Watch significant financial injury, as well as injury in the form of
suppression of speech and ideas in furtherance of its conservative public interest advocacy.

62. Not only is Freedom Watch a user and consumer of Defendants’ platforms, it is
also a competitor, insofar as it creates its own original media content in the form of videos,
articles, and podcasts and other audio media, such as radio, which are distributed via the internet
in this district, and both nationwide and worldwide.

Facts Pertaining Directly to Laura Loomer

 

63. | Ms. Loomer is a well-known conservative investigative journalist and political

activist.

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64. Ms. Loomer is a conservative activist and Jewish woman.

65. In the past, Ms. Loomer has worked for Canadian news publisher, The Rebel
Media, as well as Project Veritas.

66. Renowned political consultant and strategist Roger Stone said of Ms. Loomer:

Laura Loomer is the most fearless investigative journalist working today. Loomer

is unafraid to confront and expose the connected and powerful. Frankly, Laura

Loomer has bigger journalistic cojones than many of her male counterparts-

combine that with her energy and passion for truth and you have a force that must

be reckoned with by the MSM

67. As of November 21, 2018, Ms. Loomer had over 260,000 followers on Twitter.

68. On November 21, 2018, Twitter permanently and without cause banned Ms.

Loomer from its platform for the following tweet:

Ilhan is pro Sharia Ilhan is pro- FGM Under Sharia homosexuals are oppressed &
killed. Women are abused & forced to wear the hijab. Ilhan is anti Jewish

69. Facebook subsequently banned Ms. Loomer for 30 days.

70. Ms. Loomer’s tweet refers to Rep. Ilhan Omar (“Rep. Omar”), who was elected to
Congress from Minnesota and will take office in January of 2019.

71. Indeed, Ms. Loomer’s tweet simply contained facts about Sharia law, which Rep.
Omar is known to support. The tweet pointed out the fact that which pointed out that Rep.
Omar’s support of Sharia law does not make her an ally for gay people, women, or Jews.

72. For instance, “[i]n Iran, Sudan, Saudi Arabia and Yemen, homosexuality is still

punishable by death, under sharia law. The same applies in parts of Somalia and northern

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Nigeria. In two other countries — Syria and Iraq — the death penalty is carried out by non-state
actors, including Islamic State.”’®
73. Rep. Omar herself has tweeted anti-Semitic sentiments, yet has faced no

discipline from any of Defendants’ platforms:

Israel has hypnotized the world, may Allah awaken the people and help them
see the evil doings of Israel. #Gaza #Palestine #Israel’’

74. In stark contrast, Twitter refused to take any action against the vile anti-Semite
and anti- white Louis Farrakhan for referring to Jewish persons as “termites.” ®

75. Twitter also refused to remove tweets and ban known terrorist organizations,
including Hamas,'’ whose leaders have openly called for the mass-scale extermination of Jewish
people”’ and who even brutally executed one of its own prominent commanders on accusations
of homosexuality.”’ It also entertains tweets from the Muslim Brotherhood and the terrorist
connected Council for American Islamic Relations (“CAIR”).

76. This glaring contrast in behavior is conclusive evidence of discriminatory intent

and restraint of trade against those who share conservative beliefs and those of Jewish origin.

 

'6 Gay relationships are still criminalised in 72 countries, report finds, The Guardian, Jul. 27,
2017, available at: https://www.theguardian.com/world/2017/jul/27/gay-relationships-still-
criminalised-countries-report.

'” https://twitter.com/ilhanmn/status/2694887700663 13216?lang=en

'’ Megan Keller, Twitter says it won't suspend Louis Farrakhan over tweet comparing Jews to
termites, The Hill, Oct. 17, 2018, available at: https://thehill.com/policy/technology/411950-
twitter-says-it-wont-suspend-louis-farrakhan-over-tweet-comparing-jews-to.
https://twitter.com/HamasInfoEn?ref_sre=twsre%5Egoogle%7Ctwcamp™%SEserp%7Ctwegr%5
Eauthor

2° Adam Ragson, Hamas official urges killing all Zionist Jews, praises ‘peaceful’ Gaza protests,
The Times of Israel, Jul. 26, 2018, available at: https://www.timesofisrael.com/hamas-official-
urges-killing-of-zionist-jews-praises-peaceful-gaza-protests/

*! Jack Moore, Hamas Executes Prominent Commander After Accusations of Gay Sex, Mar. 2
2016, available at: https://www.newsweek.com/prominent-hamas-commander-was-executed-
after-accusations-gay-sex-432343

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77. Whereas Ms. Loomer was banned for tweeting facts about Sharia law, Mr.
Farrakhan was allowed to refer to Jewish persons as termites without any repercussion.

78. Even those who strongly oppose Ms. Loomer’s viewpoints have taken issue with
Ms. Loomer’s “relatively illogical ban.””” Indeed, Twitter’s discriminatory motive and behavior
is so evident that even a columnist who calls Ms. Loomer a “hack” has defended Ms. Loomer
against Twitter.

79. Ms. Lowe correctly writes:

That said, the line for banning someone from an open platform should be clear

and consistent. News organizations are liable for the content they publish because

they are specifically publishers. Open platforms are not. But if the likes of

Facebook and Twitter are moving into the business of publishing, choosing which

content creators they will ban and which they will lend platforms, then they

should lawyer up and get ready to be taken to court.”

80. Ms. Lowe even defends the veracity of the facts asserted in Ms. Loomer’s tweet,
writing, “[b]ut Loomer is not wrong that Omar has openly spread the anti-Semitic conspiracy
theory that Jewish Zionists posses hypnotic powers. Nor is she wrong that Sharia law is
inherently homophobic and sexist.”

81. Asa direct and proximate result of Defendants’ illegal discriminatory conduct as
actionable herein, Ms. Loomer has and will continue to suffer severe financial injury, as the loss
of her over 260,000 Twitter followers and Facebook account will prevent her from reaching her

audience with her investigative work.

Defendants’ Market Power and Antitrust Allegations

 

*2 Tiana Lowe, Twitter has banned the idiotic Laura Loomer for an innocuous tweet, Washington
Examiner, Nov. 22 2018, available at: https://www.washingtonexaminer.com/opinion/twitter-
has-banned-the-idiotic-laura-loomer-for-an-innocuous-tweet

3 Id.

4 Id.

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82. Defendants have entered into an illegal agreement to refuse to deal with
conservative news and media outlets, such as Freedom Watch and those similarly situated, as
well as to suppress media content and advocacy, which has no legitimate business justification
and is plainly anticompetitive.

83. This illegal agreement is evidenced by the fact that Freedom Watch began losing
users on each of Defendants platforms at or around the same time, around eight months ago,
notably after the election of President Donald J. Trump and as the so-called Russian collusion
and obstruction of justice investigation of Special Counsel Robert Mueller was publically
attacked by the president and other conservatives as a continuing leftist inspired “witch hunt.”

84. Defendants’ agreement has a plainly anti-competitive effect and has no rational
economic justification, as they are willing to lose revenue from conservative organizations and
individuals like Freedom Watch and those similarly situated to further their leftist agenda and
designs to effectively overthrow President Trump and his administration and have installed leftist
government in this district and the 50 states.

85. Alternatively, Defendants, who are and should be competitors to each other, have
engaged in “conscious parallelism” insofar as they have each mimicked each others’ refusal to
deal with Freedom Watch and those similarly situated in order to set, control, and establish the
relevant market, as defined below.

86. There is no legitimate independent business reason for Defendants “conscious
parallelism,” as they are losing revenue from conservative organizations and individuals like

Freedom Watch and those similarly situated.

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87. Facebook is the leading and the largest social media network in the world, with a
social network global market share of 69.97 percent as of March, 2018.”°

88. Facebook has the largest market share in the United States for social networking
advertising revenue, at 79.2% in 2018 thus far.”° Facebook has held at least a 73.9% market
share in advertising revenue since at 2015.

89. In 2017, Facebook held a market share of 20.9% of the net United States digital
ad revenues, as well as 26.8% of the net United States mobile ad market.”’

90. In conjunction with Google, Facebook makes up 63.1% of total United States
digital advertising revenues.

91. Facebook’s CEO, Mr. Zuckerberg, testified before a joint session between the
Senate Judiciary and Commerce committees on April 10, 2018.

92. During his testimony, Zuckerberg struggled to name a single competitor to
Facebook.”

93. | The Verge published a transcript of the line of questioning on this topic:

Sen. Lindsey Graham: Who’s your biggest competitor?

Mark Zuckerberg: Uh, senator, we have a lot of competitors.

LG: Who’s your biggest?

MZ: The categories... do you want just one? I am not sure I can give one but can

I give a bunch? There are three categories that I would focus on. One are the other

tech platforms: Google, Apple, Amazon, Microsoft, we overlap with them in

different ways.
LG: Do they provide the same service you provide?

 

> http://gs.statcounter.com/social-media-stats

° https://www:statista.com/statistics/241805/market-share-of-facebooks-us-social-network-ad-
revenue/

77 https://www.emarketer.com/Article/Google-Facebook-Tighten-Grip-on-US-Digital-Ad-
Market/1016494

*8 Sarah Jeong, Zuckerberg struggles to name a single Facebook competitor, The Verge, Apr. 10,
2018, available at: https://www.theverge.com/2018/4/10/17220934/facebook-monopoly-
competitor-mark-zuckerberg-senate-hearing-lindsey-graham

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MZ: In different ways.

LG: Let me put it this way. If I buy a Ford, and it doesn’t work well, and I don’t
like it, I can buy a Chevy. If I’m upset with Facebook, what’s the equivalent
product I can go sign up for?

MZ: Well, the second category I was going to talk about...

LG: I’m not talking about categories. I’m talking about real competition you face.
“Cause car companies face a lot of competition. They make a defective car, it gets
out in the world, people stop buying that car, they buy another one. Is there an
alternative to Facebook in the private sector?

MZ: The average American uses eight different apps to communicate with their
friends and stay in touch with people ranging from text to email—

LG: Which is the same service you provide?

MZ: Well, we provide a number of different services.

LG: Is Twitter the same as what you do?

MZ: It overlaps with a portion of what we do.

LG: You don’t think you have a monopoly?

MZ: It certainly doesn’t feel like that to me.”

94. Sarah Miller (“Miller”), the Deputy Director of the Open Markets Institute, has
plainly stated that Facebook is a “corporate monopoly.”*”

95. Miller reasons, “[t]here is no other social media company today that has the
enormous global reach combined with the personal intimacy and immediate engagement of
Facebook. There are more than 200 million users in the United States, with more than half of all
American adults accessing it every day, and almost 2 billion worldwide. It accounts for 77
percent of mobile social networking traffic in the U.S. Through its ownership of WhatsApp and

Instagram, that reach is even greater.”°’

 

”? Id.

3° Sarah Miller, Matt Stoller, Facebook Can’t Be Fixed, It Needs To Be Broken Up, The Daily
Beast, Apr. 10, 2018, available at: https://www.thedailybeast.com/facebook-cant-be-fixed-it-
needs-to-be-broken-up

*" Id.

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96. “Facebook is also the leading way that most Americans get their news. According
to the Pew Research Center, just shy of half of all Americans get their news on Facebook — far
more reach than any other social media site.”*

97. In another study, it was revealed back in 2016 that 59% of Twitter users get their
news through the Twitter platform.*® The same study found that 48% of all American adults got
their news from Facebook, 10 % from YouTube, and 16% from Twitter, meaning a total of 74%
of American adults get their news from Defendants’ platforms.

98. The relevant market is the market for media and news publications (and the
submarket for political media and news publications).

99. The geographic markets are in this district and nationwide and worldwide.

100. Defendants collectively have obtained monopoly power in the relevant markets
through exclusionary conduct that has severely harmed competition.

101. As set forth in the both the foregoing and the following sections, Defendants have
engaged in a refusal to deal with Freedom Watch and Ms. Loomer and those similarly situated
that has no viable economic justification and is plainly anticompetitive.

102. Similarly, the violative conduct of Defendants has resulted in a worse quality of
services for its consumers who tend to lean conservatively and, as set forth in this Amended
Complaint, lack any normal business justification.

FIRST CAUSE OF ACTION
Violation of Section 1 of the Sherman Act — Illegal Agreement in Restraint of Trade

 

 

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Id.

33 effrey Gottfried, Elisa Shearer, News Use Across Social Media Platforms 2016, Journalism,

May 26, 2016, available at: http://www.journalism.org/2016/05/26/news-use-across-social-

media-platforms-2016/

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103. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

104. Section 1 of the Sherman Antitrust Act states that “Every contract, combination in
the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several
States, or with foreign nations, is declared to be illegal.”

105. Defendants, each and every one of them, have conspired and illicitly agreed to
refuse to deal and suppress media content and advocacy from Freedom Watch, Ms. Loomer and
those similarly situated members of the class.

106. Alternatively, Defendants, each and every one of them, have engaged in
“conscious parallelism” and in concert mimicked each others’ refusal to deal with Freedom
Watch and Ms. Loomer and those similarly situated in order to set, control, and establish the
relevant market, as defined above.

107. Defendants’ agreement unreasonably restrains competition insofar as it has no
legitimate business justification. Defendants are losing significant revenue from conservative
groups and individuals like Freedom Watch and Ms. Loomer and those similarly situated
members of the class.

108. Defendants are accepting this temporary loss of revenue in order to set, control,
and dominate the relevant market, as defined above.

109. Defendants’ illegal agreement affects interstate commerce because Freedom
Watch and Ms. Loomer and those similarly situated have a nationwide and worldwide reach for

their conservative media content and advocacy.

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110. There is a significant negative impact on the relevant market because consumers’
access to conservative media and news content is severely limited and suppressed as a result of
Defendants’ agreement and/or “conscious parallelism.”

WHEREFORE, Freedom Watch and Ms. Loomer respectfully request that this Court
enter judgment against Defendants in a sum to be determined by a jury, grant preliminary and
permanent injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and
further relief as this Court deems just and proper.

SECOND CAUSE OF ACTION
Violation of Section 2 of the Sherman Act

 

111. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

112. Defendants have targeted media and news publications such as lead plaintiff
Freedom Watch and Ms. Loomer and those members of the class that have the potential to
compete with it and thereby to erode its monopoly.

113. Defendants have willfully engaged, and is engaging, in an exclusionary course of
conduct, and there is a dangerous probability that, unless restrained, it will succeed, in violation
of Section 2 of the Sherman Act, 15 U.S.C. § 2.

114. Defendants have acted with a specific intent to monopolize, and to destroy
effective competition in the relevant market for media and news publications.

WHEREFORE, Freedom Watch and Ms. Loomer respectfully request that this Court
enter judgment against Defendants in a sum to be determined by a jury, grant preliminary and
permanent injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and
further relief as this Court deems just and proper.

THIRD CAUSE OF ACTION

 

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Discrimination in Violation of D.C. Code § 2-1403.16 (“DCHRA”)

115. Plaintiffs incorporate herein by reference each and every foregoing paragraph of
this Amended Complaint as if set forth in full.

116. The DCHRA makes discrimination illegal based on 20 different traits for people
that live, visit, or work in the District of Columbia.

117. Among the traits protected under the DCHRA are “Political Affiliation” and
“Religion.”

118. Defendants, each and every one of them, acting in concert, are discriminating
against Plaintiffs because of its perceived conservative advocacy which is perceived by them to
further the interests of what is perceived to be an affiliated Republican Party.

119. Defendants, each and every one of them, acting in concert, are discriminating
against Freedom Watch and Ms. Loomer because of her Jewish faith. Not coincidentally the
founder and chairman and general counsel of Freedom Watch is also of Jewish origin.

120. Defendants have denied Plaintiffs the full and equal enjoyment of the services,
privileges, and advantages that they provide to persons which they perceive to not be affiliated
with the Republican Party or of Jewish faith.

121. Defendants have indicated that full and equal enjoyment of the goods, services,
facilities, privileges, advantages, and accommodations will be unlawfully refused, withheld from
or denied to Plaintiffs and that its patronage of Defendants’ platforms is objectional, unwelcome,
unacceptable, or undesirable.

122. Defendants qualify as “public accommodation[s],” as defined by the DCHRA, as

an “establishment...dealing with services of any kind....”

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WHEREFORE, Freedom Watch and Ms. Loomer respectfully request that this Court
enter judgment against Defendants in a sum to be determined by a jury, grant preliminary and
permanent injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and
further relief as this Court deems just and proper.

FOURTH CAUSE OF ACTION
Violation of the First Amendment to the Constitution and/or 42 U.S.C. § 1983

 

123. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Amended Complaint as if set forth in full.

124. The First Amendment of the United States Constitution protects the freedom of
speech and association, and against viewpoint discrimination in the access and use of public
spaces, quasi-public spaces, and limited public spaces.

125. Defendants created, operate, and control public platforms that are for public use
and public benefit and invite the public to utilize their platforms as a forum for free speech.

126. Defendants act as quasi-state actors because they regulate their public platforms,
thereby regulating free speech within their public forums, Google/YouTube, Facebook, and
Twitter, Apple, Instagram as well as the other social media companies or entities.

127. Defendants, each and every one of them acting in concert, have deprived
Plaintiffs and those similarly situated of its constitutional rights by censoring its content for
purely political reasons. Defendants’ censorship is arbitrary and capricious, and is purely
viewpoint based.

128. There exists no compelling, significant, or legitimate reason for the suppressing
and censoring of Freedom Watch’s and Ms. Loomer’s content as well as the other members of
the class.

VI. PRAYER FOR RELIEF

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WHEREFORE, Plaintiff on behalf of itself and the other members of the class pray for

relief and judgment against Defendant as follows:

(a) For general (non-economic), special (economic), actual and compensatory and
punitive damages in excess of $ 1,500,000,000.00;

(b) For injunctive relief preventing Defendants, each and every one of them, acting in
concert and individually as joint tortfeasors from discriminating against, refusing to
deal, suppressing media content and advocacy, censoring Freedom Watch and Ms.
Loomer and those similarly situated members of the class.

DEMAND FOR JURY TRIAL

 

Plaintiffs demand a trial by jury on all counts as to all issues so triable.
Dated: December 5, 2018 Respectfully submitted,

/s/ Larry Klayman

Larry Klayman, Esq.

Chairman and General Counsel
FREEDOM WATCH, INC.

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Attorney for Freedom Watch, Laura Loomer,
and the Class

 

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